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9
                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12
                                                                     *E-FILED - 4/13/06*
13
14   UNITED STATES OF AMERICA,                   )        No. CR 05-00445-RMW
                                                 )
15        Plaintiff,                             )
                                                 )        STIPULATION TO CONTINUE
16     v.                                        )        SENTENCING HEARING
                                                 )
17   NATHANIEL E. LOVELL,                        )
       aka Nate Lovell, aka pestilenc, aka pest, )
18                                               )
          Defendant.                             )
19                                               )
20        It is hereby stipulated and agreed between defendant Nathaniel Lovell, by and through his
21   counsel of record, Jack Gordon, Esq., and the United States, by and through Assistant United
22   States Attorney Mark L. Krotoski, as follows:
23        1. This matter is presently set for a sentencing hearing on May 8, 2006 at 9:00 a.m.
24        2. The Probation Officer has requested further time to address sentencing issues and to
25   complete the Presentence Report.
26        3. The parties do not oppose this request for further time to prepare the Presentence Report.
27   // // //
28

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
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1       For the foregoing reasons, and that the ends of justice are served by continuing this case, the
2    parties stipulate and request to a continuance of the sentencing hearing from May 8, 2006 at 9:00
3    a.m. to June 12, 2006 at 9:00 a.m., or the next available date.
4       IT IS SO STIPULATED.
5    Dated: April 10, 2006                                 KEVIN V. RYAN
                                                           United States Attorney
6
7                                                                 /s/
                                                           ________________________
8                                                          MARK L. KROTOSKI
                                                           Assistant United States Attorney
9
     Dated: April 10, 2006
10                                                                /s/
                                                           ________________________
11                                                         JACK GORDON
                                                           Attorney for Defendant
12
        IT IS SO ORDERED.
13
        Upon good cause shown, the sentencing hearing is continued from from May 8, 2006 at 9:00
14
     a.m. to June 12, 2006 at 9:00 a.m.
15
                  13 2006
     Dated: April __,
16
                                                            /S/ RONALD M. WHYTE
                                                           _________________________
17                                                         RONALD M. WHYTE
                                                           United States District Judge
18
19
     Distribute To:
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26   Jack Roberson
     U.S. Probation Officer
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     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
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